Case 3:23-cr-00166-HLA-JBT Document 36-1 Filed 03/11/24 Page 1 of 2 PagelD 362

EXHIBIT E
Case 3:23-cr-00166-HLA-JBT Document 36-1 Filed 03/11/24 Page 2 of 2 PagelD 363

SHANDS AT THE UNIVERSITY OF FLORIDA Patel, Amit
Health Information Department MRN: 03656194, DOB: IMG2, Sex: M
PO Box 100345 Visit date: 3/27/2023

Gainesville FL 32610

Reason for Visit

Visit diagnoses:

Alcohol use disorder, severe, dependence (CMS-HCC: 55)
Gambling disorder, severe

Mild stimulant use disorder (CMS-HCC: 56)

Cannabis use disorder, moderate, dependence (CMS-HCC: 55)

Visit Information

Provider Information

ut Referring Provider _
Fake area APRN Zak, a "APRN Self, Referral

Department

UF Health Florida Recovery Center” 3030 SW 13th Street” _— 352-265-4357. 352-627-4162
Gainesville FL 32608-3511

a of sevice

Office Visit Progress | Notes

Progress Notes

Zak, Karen, APRN at 3/27/2023 000

Patient Name: Amit Patel

Age, Sex: 30 y/o male

Date of Admission: 3/23/2023

Date of Service: 3/27/2023

CPT Code: 99214

| spent 50% of the time face with this patient regarding medication management, diagnosis, nature of addiction,
recovery practice, and symptomatology.

(Portions of this note may have been copied from the medical record, but edited appropriately to accurately reflect the
patient's current clinical status)

Amit Patel is a 30 y/o male admitted for problems related to alcohol use and gambling.

HPI: Amit Patel is a 30-year-old single Asian male who voluntarily from home to Florida Recovery Center for PHP
treatment with housing for alcohol use disorder and gambling disorder. He was referred by attorney Scott Monroe. He
was manager of FPNA for the Jacksonville Jaguars and was fired 2/8/2023 due to gambling.

Substance abuse history:

In regards to alcohol; He started drinking at age 18, 2 beers a few times at parties. During undergrad at FSU, he
started drinking every day while in a fraternity. He drank 4-5 beers daily after class and drank “no count” of both beer
and mixed drinks on weekends. When he transferred to Flagler College, his use became 3-4 beers daily and 4-5
drinks on weekends. While doing his MBA at FSU, his use dropped to 2-3 drinks on week nights and 3-4 drinks on
weekends. After graduation, he moved back to his parent's house and use became almost none during weekdays and
3-4 beers or mixed drinks on weekends. In 2018 when he got a job, his started going to happy hours on Fridays, bar
with friends after work once weekly, consuming 2-3 drinks and on weekends and during games 4-6 drinks until 2021
when he started living on his own. Then he started drinking an additional 2-3 drinks every other or every third night. He

Printed on 1/29/24 3:57 PM Page 2
